IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
CIVIL ACTION NO. 5:15-CV-451-BO

 

HENRY LEE MCCOLLUM and
DUANE GILLIAM, as guardian of the
estate of LEON BROWN,
Plaintiffs,
VS. SUGGESTION OF DEATH
OF DEFENDANT LARRY FLOYD
ROBESON COUNTY, TOWN OF
RED SPRINGS, KENNETH SEALEY,
Both individually and in his official capacity
As the Sheriff of Robeson County,
KENNETH SNEAD, JOEL GARTH
LOCKLEAR, LARRY FLOYD, LEROY
ALLEN, PAUL CANADY, Administrator
C.T.A. of the Estate of Luther Haggins,
Defendants.

Ne Nee Nee! Nate! Nett Nett Samat ml satel! Nae eel Smee ee Se Nee eee!

 

NOW COMES the undersigned counsel for the Defendants Town of Red Springs, Paul
Canady, Administrator C.T.A. of the Estate of Luther Haggins and Larry Floyd (now deceased),
pursuant to Rule 25(a)(3) of the Federal Rules of Civil Procedure and hereby formally notifies
the Court and other parties in this matter of the death of the Defendant Larry Floyd on or about
February 14, 2016. The obituary is attached as Exhibit A. Mr. Floyd died intestate and, since
that time, no relative or close family friend has agreed to serve as the Personal Representative of
his estate. See Exhibit B attached.

THIS the 15" day of September, 2016.

YARBOROUGH, WINTERS & NEVILLE, P.A.

S/ Garris Neil Yarborough

GARRIS NEIL YARBOROUGH, State Bar # 8110
TIMOTHY C. SMITH, State Bar #37060

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CERTIFICATE OF SERVICE

I do hereby certify that a copy of the foregoing Suggestion of Death of Defendant Larry
Floyd has been delivered through the Federal Court’s ECF system to:

Patrick Michael Megaro
Jaime T. Halscott
Schott Brettschneider
Halscott Megaro
33 E Robinson Street, Suite 210
Orlando FL 32801

Bradley O. Wood
James R. Morgan
Womble Carlyle Sandridge & Rice, LLP
One West Fourth Street
Winston-Salem NC 27101

Hal F. Askins
J. Joy Strickland
NC Department of Justice
PO Box 629
Raleigh NC 27602

This the 15" day of September, 2016.

YARBOROUGH, WINTERS & NEVILLE, P.A.

S/ Garris Neil Yarborough
GARRIS NEIL YARBOROUGH
State Bar # 3110

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